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US v. ARTEAGA-ERAZO.et. al.

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

Date of Arrest: November 16, 2015

UNITED STATES OF AMERICA Magistrate’s Case No. {5-|\Q@2Q4\WJ

21 U.S.C. § 841(a) (b) (1) (e)

Plaintiff,
vs. Possession of a Controlled
Substance with Intent to
1.Wilmer Omar ARTEAGA-Erazo Distribute
Year of Birth: 1992 Count 1

Citizen of Honduras

(Count 1) 18 U.8,c § 2

i (Aiding and Abetting)
2,Omar FELIX-Olea Count 1

Year of Birth: 1979

Citizen of MEXICO

. {Count 1)

3,.Carlos Saul ROA-Santacruz
Year of Birth: 1990
Citizen of Mexico
(Count 1) _

Defendants.

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I, the undersigned complainant, being duly
sworn, state that the following is true and correct to the
best of my knowledwe and belief;

COUNT 1

On or about November 16, 2015, at or near Tacna, Arizona,
within the District of Arizona, the defendants Wilmer Omar
ARTEAGA-ERAZO, Omar FELIX-OLEA and Carlos Saul  ROA-
SANTACRUZ, did knowingly and intentionally possess with
intent to distribute, 100 kilograms or more of a mixture or
substance containing a detectable amount of marijuana, a-
Schedule I Controlled Substance, all in violation of Title
18, United States Code, Section 2 and Title 21, United
States Code, Section 841 (a) (b)1) (c).
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And the complainant states that this complaint is based on
_the attached Statement of Facts incorporated herein by
reference.

Reviewed by: AUSA on ne

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Reeure Curiel
Special Agent - Homeland Security
Investigations

Sworn to before me and subscribed in my presence November
17, 2015, at Yuma, Arizona. 4

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James F. Metcalf
United States Magistrate Judge:
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STATEMENT OF FACTS

I, Arturo Curiel, being duly sworn do state the following:

On November 16, 2015, Border Patrol Agents (BPA’S) assigned
to patrol duties at the Wellton Border Patrol Station
responded to the Zone 14 area near Tacna Arizona to relieve
the agents from the midnight shift that were Eollowing foot
sign of approximately seven subjects that appeared to be
wearing carpet. Carpet is used over their shoes to conceal
their footprints and is commonly used by illegal smugglers
in order to avoid detection. At approximately 1030 hours,
the carpet sign led directly to nine bundles of makeshift
backpacks with a substance that resembled the
characteristics of marijuana. The makeshift backpacks were
hidden in a cave of a mountain. The substance was later
field tested yielding positive results for the
characteristics of marijuana with an aggregate weight of
164.95 kilograms. After making the notifications regarding
the makeshift backpacks, BPA’S continued to track the foot
sign and came. vwpon three individuals approximately 20 yards
‘from the cave in which the makeshift backpacks were
located. The three individuals were later identified as
Wilmer Omar ARTEAGA-Erazo (ARTEAGA), Omar FELIX-Olea
(FELIX) and Carlos Saul ROA-Santacruz (ROA). All three
individwls admitted to be in the United States illegally.
All three subjects were then taken into custody and
transported to the Wellton Border Patrol Station for
further processing. Homeland Security Investigations (HSI)
Special Agents were notified and responded to the Wellton
Border Patrol Station.

During a post-Miranda interview, ARTEAGA was asked if he
was willing to talk to the agents without the presence of
legal counsel. ARTEAGA responded that it was given to him
by force and stated that he wanted a lawyer present. No
further questions were asked.

During a post-Miranda interview, ROA stated that some time
ago he met an individual in Mexicali, Baja California,
Mexico, who told him that he could avoid paying the
smuggling fee of $4,000 dollars to cross to the United
States, by smuggling marijuana bundles from Sonoyta,
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‘Sonora, Mexico to an unknown location in the United States.
“ROA agreed and traveled to Sonoyta. Once in. Sonoyta, he

along with six or seven other individuals, including

ARTEAGA and FELIX, were transported to an unknown ranch
between San Luis Rio Colorado and Sonoyta. At the ranch,
each individual took possession of a makeshift backpack
containing two bundles each and crossed the international-
boundary line that divides Mexico and the United States.
According to ROA, they were instructed to walk north until
the freeway where one vehicle was going to show up to pick ©
up the marijuana bundles and another vehicle was going to
pick him up along with the other six individuals, ROA
further stated that after walking in the desert for
approximately three days, they hid the makeshift backpacks
in a cave and walked away from the backpacks to rest. While
they were resting, they all heard and saw a Border Patrol
helicopter, and everyone except ROA, FELIX, ARTEAGA, ran up
_ the mountain and disappeared. ROA, FELIZ, and ARTEAGA were
then detained by Border Patrol Agents,

Based on the foregoing, there is probable cause to believe
that ROA, FELIX, and ARTEAGA committed the offenses as

alleged in the Complaint.
Lika Lint

 

Arturo Curiel i
Special Agent - Homeland Security .
Investigations

Sworn to before me and subscribed in my presence, November
17, 2015, at Yuma, Arizona. /
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James F. Metcalf
United States Magistrate Judge
